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                  UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF TEXAS
                        HOUSTON DIVISION
 LOUIS LARES,                    §
                                 §
      Plaintiff,                 §
                                 §    CIVIL ACTION NO. 4:22-CV-2057
 v.                              §
                                 §
 CITY OF SUGARLAND,              §
                                 §       Jury Trial Demanded
      Defendant.                 §


                      PLAINTIFF’S ORIGINAL COMPLAINT


       LOUIS LARES, Plaintiff (“Lares” or “Plaintiff”) brings this lawsuit against the City of

Sugar Land, Defendant (“Defendant”), and for cause of action against it would show the Court as

follows:

                                        I.     PARTIES

1.   Plaintiff Louis Lares is a resident of the State of Texas. At all relevant times, Plaintiff was

     employed by Defendant in Fort Bend County, Texas.

2.   Defendant, City of Sugar Land, is a political subdivision of the State of Texas, whose

     principal office is in Sugar Land, Fort Bend County, Texas. Defendant may be served with

     process by serving the City Manager, Mike Goodrum, or the Mayor, Joe R. Zimmerman, at

     the City of Sugar Land, 2700 Town Center Boulevard North, Sugar Land, Texas 77479.

                             II.    JURISDICTION and VENUE

3.   Plaintiff brings this suit under Title VII of the Civil Rights Act of 1964, as amended, and

     under 29 U.S.C. § 621, et seq. This Court has jurisdiction of this case according to 28 U.S.C.

     §§ 1331 and 1343.
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4.    The practices alleged herein were committed within the jurisdiction of this Court. The

      amount in controversy is within the jurisdictional limits of this Court.

                            III.     ADMINISTRATIVE EXHAUSTION

5.    All conditions precedent to the filing of this action have been met by Plaintiff in that he

      timely filed his complaint with the Equal Employment Opportunity Commission (“EEOC”)

      and has received his right-to-sue letter from the EEOC to pursue his claims of age and

      national origin discrimination and retaliation.

6.    Plaintiff filed a Charge of Discrimination with the TWC-CRD and the EEOC on August 26,

      2021.

7.    On or about March 28, 2022, Plaintiff received his Notice of Right to File a Civil Action

      issued by the EEOC entitling him to file suit based on his claims of discrimination and

      retaliation.

8.    The filing of this lawsuit has been accomplished within ninety (90) days of Plaintiff’s receipt

      of the notice from the EEOC.

                                   IV.   FACTUAL BACKGROUND

9.    The City of Sugarland’s Director of Aviation, Elizabeth Rosenbaum (38), fired Plaintiff on

      July 2, 2021. Ms. Rosenbaum’s decision to fire Plaintiff is unlawful. She fired Plaintiff

      because of his age (63), national origin (Hispanic), and because Plaintiff complained to her

      about discrimination in the workplace.

10.   The City of Sugarland (“City”) hired Plaintiff in May 2017 to be the Business Manager for

      the City’s Airport.

11.   He was selected by the former Airport Director, Phil Savko, Director of Public Works,

      Robert Valenzuela, and Ms. Rosenbaum.



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12.   Soon after the hire, Ms. Rosenbaum made it clear that she was not in favor of the decision.

      She told Maintenance Manager, Ken Durbin, “Phil hired another old guy.”

13.   Plaintiff performed his job well.

14.   From 2017 to 2019, he helped the airport generate enough revenue to pay back a $2 million

      loan to the water department and pay for three capital projects: the westside roadway, the

      Highway 90 drainage project, and the airport bridge.

15.   Plaintiff doubled the annual ramp fee revenues from $250,000 to $500,000 and completed

      all the related price sensitivity analysis.

16.   The City never disciplined Plaintiff.

17.   Plaintiff continued to perform well during the pandemic. The Airport met all of its operating

      and non-operating expenses.

18.   Plaintiff’s performance evaluations rated him well. Ms. Rosenbaum told Plaintiff his

      performance was excellent and even suggested he apply for the Airport Assistant Director

      position.

19.   Plaintiff maintained a rent collection rate of 99%.

20.   He met with Ms. Rosenbaum, one-on-one, every month and kept her apprised of the Airport’s

      aging accounts receivable report, amongst other data.

21.   Ms. Rosenbaum was well aware that two of the Airport’s tenants, Sugarland Avionics and

      Ven-Petrochemical, were behind on rent. This was not that surprising, given the harsh

      economic conditions caused by COVID-19.

22.   Many tenants were asking for rent deferral or federal assistance. Sugarland Avionics had

      requested a rent deferral as recently as June 25, 2021, the Friday before Ms. Rosenbaum

      would fire Plaintiff.



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23.   But Ms. Rosenbaum was only selectively granting deferrals, and she refused – without

      explanation – to grant one to Sugarland Avionics.

24.   Plaintiff recognized it was in the best interest of the City and the Airport to work with these

      tenants, because the objective of an Airport is to create a financial win-win situation for both

      the tenant and the airport. Ms. Rosenbaum refused to hear Plaintiff out, even though she had

      already granted deferrals and federal aid to other tenants.

25.   Plaintiff is Hispanic and was 63 years’ old when the City fired him. Neither of those facts

      should matter, but unfortunately they did matter to Ms. Rosenbaum and Denise Beckwith,

      ASR Manager. Ms. Rosenbaum and Ms. Beckwith did not treat Plaintiff with the

      professional, humane respect he deserved. Nor did they treat him with the same level of

      respect and friendliness as they treated other white / non-Hispanic employees at the Airport.

26.   Around February 9, 2020, Ms. Rosenbaum made a comment suggesting that Hispanic people

      did not make “beautiful babies,” compared to her and her husband, who are both non-

      Hispanic.

27.   In March 2021, Ms. Beckwith told Plaintiff that he “should be mowing grass just like all

      Mexicans.”

28.   Plaintiff complained about this discriminatory behavior to Ms. Rosenbaum face-to-face in

      April 2021. He told her about Ms. Beckwith’s biased comment.

29.   Plaintiff asked Ms. Rosenbaum to judge him not by the color of his skin but by his actual

      work performance. Ms. Rosenbaum ignored Plaintiff, changed the subject, and chose not to

      investigate his discrimination claim or move it up her chain of command.

30.   Less than three months after Ms. Rosenbaum heard his discrimination complaint, she

      terminated Plaintiff out of the blue on July 2, 2021.



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31.   In the termination letter, Ms. Rosenbaum claimed that she fired Plaintiff because two tenants

      were delinquent in their rent. She falsely claimed that Plaintiff failed to provide appropriate

      management, though she did not provide any specifics.

32.   Ms. Rosenbaum’s explanation for the termination is not credible. As noted above, under

      Plaintiff’s management, the Airport enjoyed a 99% collection rate.

33.   Plaintiff kept Ms. Rosenbaum up to date about tenants who were behind on rent, but she

      arbitrarily refused to grant rent deferrals to Sugarland Avionics.

34.   As for the other tenant that was behind, Ven-Petrochemical, they told Plaintiff that they

      would come to the Airport in-person during the week of July 5th to pay their past-due rent.

35.   The idea that two out of 141 leases were behind on rent (representing a fraction of the

      Airport’s $16 million budget) makes Plaintiff worthy of termination is not credible or

      believable.

36.   Ms. Rosenbaum’s explanation is even less credible given her own experience handling

      tenants behind on rent. Ms. Rosenbaum was Plaintiff’s predecessor in the Airport Business

      Manager role.

37.   When Plaintiff took over from Ms. Rosenbaum in 2017, Plaintiff noticed that one tenant,

      SITA, had not paid rent since 2008. In those ten years, SITA was nearly $60,000 in arrears.

      But Ms. Rosenbaum was not fired.

38.   The City’s decision to fire Plaintiff violates state and federal laws that prohibit retaliation

      and discrimination based on age and national origin.




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                             V.    COUNT ONE:
              NATIONAL ORIGIN DISCRIMINATION AND RETALIATION
                         IN VIOLATION OF TITLE VII

39.   Plaintiff incorporates by reference the preceding paragraphs as set forth herein.

40.   Defendant, by and through its agents and employees, has intentionally engaged in the

      aforementioned practices, policies, customs, and usages made unlawful by Title VII.

41.   Defendant has violated Title VII by discriminating against Plaintiff based on his national

      origin, Hispanic, and retaliating against him for complaining of discrimination, in connection

      with his termination.

                              VI.  COUNT TWO:
                 AGE DISCRIMINATION IN VIOLATION OF THE ADEA

42.   Plaintiff incorporates by reference the preceding paragraphs as set forth herein.

43.   Defendant, by and through its agents and employees, fired the Plaintiff because of his age in

      violation of the ADEA.

                                           VII.    DAMAGES

44.   As a direct and proximate result of the aforementioned acts, Plaintiff has suffered economic

      loss, compensatory loss, and mental anguish.

                                   VIII. ATTORNEY’S FEES

45.   Defendant’s actions and conduct as described herein and the resulting damage and loss to

      Plaintiff has necessitated Plaintiff retaining the services of SHELLIST | LAZARZ | SLOBIN

      LLP, 11 Greenway Plaza, Suite 1515, Houston, Texas 77046, in initiating this proceeding.

      Plaintiff seeks recovery of reasonable and necessary attorney’s fees.

                                     IX.          JURY DEMAND

46.   Plaintiff demands a trial by jury.




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                                          X.     PRAYER

47.   Plaintiff respectfully prays that Defendant be cited to appear and answer, and that on final

      hearing of this cause Plaintiff obtain the following relief:

               a. Judgment against Defendant for actual damages sustained by Plaintiff as
                  alleged herein;
               b. Pre-judgment interest at the highest legal rate;
               c. Post-judgment interest at the highest legal rate until paid;
               d. Back-pay;
               e. Front-pay;
               f. Injunctive relief;
               g. Reinstatement;
               h. Liquidated damages;
               i. Damages for mental pain and mental anguish;
               j. Attorney’s fees;
               k. All costs of court expended herein;
               l. Such other and further relief, at law or in equity, general or special, to which
                  Plaintiff may show she is justly entitled.

                                                       Respectfully submitted,

                                                       SHELLIST LAZARZ SLOBIN LLP

                                                       /s/ Paul R. Harris
                                                       Todd Slobin
                                                       Federal ID No. 22701
                                                       State Bar No. 24002953
                                                       tslobin@eeoc.net
                                                       Paul R. Harris
                                                       Federal ID No. 897365
                                                       State Bar No. 24059905
                                                       pharris@eeoc.net
                                                       11 Greenway Plaza, Suite 1515
                                                       Houston, Texas 77046
                                                       (713) 621-2277 – Telephone
                                                       (713) 621-0993 – Facsimile
                                                       ATTORNEYS FOR PLAINTIFF
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